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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
    Plaintiff,

vs.                                               CASE NO.:   1:21-CR-00028-APM

KELLY MEGGS
     Defendant.
______________________________/                   FLORIDA BAR NO.: 0983675

        MOTICE OF ADOPTION OF CO-DEFENDANTS’ MOTIONS

      COMES NOW the defendant, KELLY MEGGS, by and through his

undersigned counsel, and pursuant to the Court’s direction, and submits the

following NOTICE OF ADOPTION of the following motions filed by co-defendants

in this matter.

      The defendant files this notice to obtain the result of the Court’s ruling on

these motions without unduly burdening the court and record with unnecessarily

duplicative filings and pleadings.

      The defendant reserves the right to supplement any motion so adopted, as well

as presenting oral argument thereon, to the extent that the document does not

adequately address the interests of Mr. Meggs.

      a. Motion to Dismiss by Joshua James. Doc. 269.
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      b. Motion for Bill of Particulars by Joshua James. Doc. 270.

      c. Motion to Change Venue by Thomas Caldwell. Doc. 273.

      d. Unopposed Motion for Extension of Time to File Pretrial Motions by

         Sandra Ruth Parker. Doc. 274.

      e. Motion to Dismiss by Kenneth Harrelson. Doc. 278.

      f. Motion to Dismiss by Donovan Ray Crowl. Doc. 288.




                                              RESPECTFULLY SUBMITTED,

                                              /s/ David Anthony Wilson
                                              DAVID ANTHONY WILSON
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                                              Ocala, FL 34471
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                                              david@dwilsonlaw.com
                                              Trial Attorney for Defendant
                                              Florida Bar No: 0983675
                                              D.C. Bar ID: FL0073

                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 8th, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send

a notice of electronic filing to the following: Office of the United States Attorney.
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                                 /s/ David Anthony Wilson
                                 DAVID ANTHONY WILSON
